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 8                          UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11   TREEFROG DEVELOPMENTS, INC.                        CASE NO. 13-cv-1575 H (KSC)
     D/B/A LIFEPROOF,
12                                                      ORDER GRANTING
                    Plaintiff-Counterdefendant,         PARTIES’ STIPULATED
13          vs.                                         MOTION TO DISMISS
14                                                      [Doc. No. 51]
     KLEARKASE, LLC; and SEAL
15   SHIELD, LLC,
16                Defendants-Counterplaintiffs.
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18         On July 5, 2013, Plaintiff Treefrog Developments, Inc., doing business as
19 LifeProof (“Plaintiff” or “LifeProof”) brought this patent infringement action against
20 Defendants Klearkase, LLC and Seal Shield, LLC for infringing U.S. Patent No.
21 8,342,325 (“the ’325 Patent”). On November 12, 2013, Defendants stipulated that the
22 ’325 Patent was valid and enforceable, that Defendant KlearKase infringed the ’325
23 Patent (not willfully), and that it sold only twenty-nine (29) units of the allegedly
24 infringing products. (Doc. No. 39.) On April 16, 2014, the Court granted the parties’
25 joint motion for permanent injunction pursuant to the terms of a settlement agreement.
26 (Doc. No. 50.) On April 17, 2013, the parties filed a joint motion to dismiss all claims
27 and counterclaims asserted by any party in this action with prejudice. (Doc. No. 41.)
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 1        The Court, for good cause shown, grants the stipulated motion and dismisses the
 2 case with prejudice. Fed. R. Civ. P. 41(a)(2). The Court further orders as follows:
 3        1.    The parties will bear their own costs, expenses, and attorneys’ fees
 4              associated with the prosecution and defense of this action; and
 5        2.    The Court directs the Clerk to close this case.
 6        IT IS SO ORDERED.
 7 DATED: April 22, 2014
 8                                                ________________________________
                                                  MARILYN L. HUFF, District Judge
 9                                                UNITED STATES DISTRICT COURT
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